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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                                8:15CR343-JFB-MDN
       vs.
                                                                        ORDER
JERELL HAYNIE,

                      Defendant.



       The Defendant’s oral motion for a preliminary witness and exhibit lists, Filing No. 545, is

granted. The following deadlines shall apply:

              By November 17, 2017, the government will provide to the defense a preliminary

       list of witnesses who will testify at trial, excluding any lay witnesses:

              By December 8, 2017, the government shall produce to the defense a list of

       exhibits the government intends to offer at trial, excluding any items which would

       identify a lay witness; and

              By January 29, 2018, the government will provide to the Court and the defense

       their finalized witness and exhibit lists, including any lay witnesses.

       The preliminary witness and exhibit lists should be as near as complete as possible, but

the government may supplement those lists after the deadlines.

       DATED this 30th day of November, 2017.



                                                      BY THE COURT:

                                                      _s/ Joseph F. Bataillon______________
                                                      Joseph F. Bataillon
                                                      Senior United States District Court Judge
